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Revised 03/06 WDNY                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF NEW YORK
                                                                                                       \
                                                                                                                      iv 192013                jn
               FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT ,
                                     (Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further infonnation.

                                                     1. CAPTION OF ACTION                              ^   ^   _


A.
                                                                                                      1SCV 6859(?'
         Full Name of Plaintiff: NOTE: Ifmore than oneplaintifffiles thisaction and seeks informapauperis status, each plaintiff
must submit an informa pauperis application or the only plaintiff to be considered will be the plaintiffwhofiled an application.

  Co-vlos A- SoJX^O-CiQ

                                                                   -vs-


B.       Full Name(s) ofDefendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofallpartiesmust appear in the caption.
The court may not consider a claim against anyone not identified in thissection as a defendant. Add a separate sheet, if necessai"y.

1. C'(-KaoF                                                               4.                   uumA ecirMS
2.6(fia}v                        laiiitLms                                 5.
 3. Q(^GLr              SgrtOXCi                                           6. 'PiSmcjU Mttx-ixaa UvisiCn SjppgJi
*1. 0(hs2-L O-^icctr'S (YOkCS u-K^tiriaCr)                                 ^                          u_>x_V:ir\OtOr\

                                2. STATEMENT OF JURISDICTION. VENUE and NATURE OF SUIT
                                              All ofthese sections MUST be aitswered

Identify thebasisfor federal Courtjurisdiction overyour claim, suchas that the United Statesgovernment is a party to theaction, all the
parties reside in differentstates and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.


                                                                                                               A•
                                                                                                           ocx ffri Linn^ sr. (VorJi^^L
                            .                                                   -          -                                         in
                     HV '
State why the Western District of New York is the proper venuefor this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties ofNew York State.


B. Reason for Venue inthe Western District:                   ClO-iiY]                         OT bllOf^CQ^                          ^
c& R(och^30r^                            yprK-.
Identifythenature of thisaction, such as that it is a civil rightsclaim, apersonal injuryor personal property (tort)claim, a property rights
claim, or whatever it is.


                                                                                                                            .-(hr-faisc
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                                              3. PARTIES TO THIS ACTION

PLAINTIFF'S INFORMATION NOTE: To list additional plaintiffs, use thisformat on another sheet ofpaper.

Name ofFirst Plaintiff: 00^)0^ A-
Present Address: 11 HrPlvi-to                   fiOCh^SkLr,


Name of Second Plaintiff:•                      A-
Present Address: 31                   St. fioCheS^^", MV|4(^15

DEFENDANT'S INFORMATION NOTE: To list additional defendants, use thisformat on another sheet ofpaper.

Name nfFimtnefenJam:               flf fitCheS^ f&>iCe                                    N0t4f1 a,/*Qn fpubrWl^dlO,
Official Position of Defendant (if relevant):
Address of Defendant:                                    YO'Tt^


Name ofSecond Defendant: TcyT) (.OlllldimS,                                       ^^OiTj
Official Position ofDefendant (if relevant):                      VdVCi O'ffl
Address of Defendant:                    |


Name ofThird Defendant:                                       Rivrgni-.
Official Position ofDefendant (ifrelevant): foil 02.
Address ofDefendant:                            j MV


                             4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

 A.      Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
                 YesV         No
 If Yes, complete the next section. NOTE: Ifyou have brought more than one lawsuit dealing with the same facts as this
 action, use thisformat to describe the other action(s) on another sheet ofpaper.
 1.      Name(s) of the parties to this other lawsuit:
         Plaintiff(s):                       S(LK^4n
            Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 3 of 20




        Defendant(s): (J^Qir SM^n Jorztjln ^<5onrinvi27a ^s^-fionj Qo\\02^
                             ,\lCUia^rT^ O'Dgl ^          ^
2.      Court (if federal court, name the district; if state court, name the county):
       CfiUifi-                                       of^y^^toyorig.                                   opuLnfu
3.     Docket or Index Number:                           Q I Q— p                        XKS
4.      Name ofJudge to whom case was assigned: yjl^nPyZ^itPi^ pYZ2/li^ P.
5.      The approximate date the action was filed:_
6.      What was the disposition of the case?
                Is it still pending? Yes V       No
                         If not, give the approximate date it was resolved.
                Disposition (check those statements which apply):
                        Dismissed (check the statement which indicates why it was dismissed):
                                  By court sua sponte as frivolous, malicious or for failing to state a claim
                                  upon which relief can be granted;
                                  By court for failure to prosecute, pay filing fee or otherwise respond to a
                                  court order;
                                  By court due to your voluntai7 withdrawal of claim;
                      Judgment upon motion or after trial entered for
                               plaintiff
                               defendant.




                                                 5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function ofpleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverseparty to answer and prepare for trial, allowthe applicationof res judicata, and identify
the nature of the case so it may be assigned the proper fonu of trial." Simiuons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that "[ajll avemients of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances."




A. FIRST CLAIM: On {date of the incident)
defendant {give the name and (ifrelevant) the position held ofeach defendant involved in this incident)
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did the following to me (briefly suite whaf each defeuclant named above did):




                                    CqflO^       ;
The federal basis for this claim is: ^                           (Xdr\ dlC-'HOtn (/>
fnSP                       teih^Str                                                  (ymcix^.
State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
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^ro-hi't<r<^ djjsja,(                   rruj c^y€?n'n<.iioux i                  /k       ^ ^i^hss .
B. SECOND CLAIM: On (date of the incident)                                                                             ,
defendant (give the name and (ifrelevant) position held ofeach defendant involved in this incident)




did the following to me (briefly state what each defendant named above did):




 The federal basis for this claim is:



 State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:




 If you have additional claims, use the above format to set them out on additional sheets of paper.
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          Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 9 of 20
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                                                6. SUMMARY OF RELIEF SOUGHT

                             Summarize the reliefrequested byyou in each statement ofclaim above.
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-fb l/S QJ^(X ouur                                                      pL&^-^j^ri\/1 ctftyi^r^£j^
 Do you want ajury trial? Yes                 No X'
 I declare under
              er penalty ofjperjury
                         of pt      that the foregoing is true and correct.
 Executed on      hlWl l4
                             (date)

 NOTE: Each plaintifftnust sign this complaint attd/nust also sign all jSbseaheritpqpd                            edpvith the Court.
                                                               Cd

                                                                                          Signature(s) of Plaintiff(s)
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      Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 13 of 20




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    Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 14 of 20




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     Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 15 of 20




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    Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 16 of 20




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Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 17 of 20




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         ELLEN ANDERSON TOMASSO
         Notary Public, State ofNew York
                No. 02T06174798           ^
           Qualified in Monroe County    7H/
     vQniriiilssion Expires September 24, pn/ /
Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 18 of 20




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                         Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 19 of 20




                                     Application for Access to Records
                                    Freedom of Information Law (FOIL)
                                                                Monroe County, New York


I hereby apply to (^) inspect ^^obtain acopy ofthe following records;*
Please be specific:




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Name:                                                                              Signature:



Representing: (if applicable)                                                      Date:




Mailing Address:                                                                   Telephone: (include area codei



City, state, zip code:
                          ficch^/, NY
*Thereis no chargefor the inspection of documents: however, if duplication is requested byyou. a charge of $ 25per page is payable to Monroe County.
Notice; You have a right to appeal denial of this application.
Send Request to:
Monroe County Access Officer
204 County Office Building • 39 West Main Street • Rochester, New York 14614
Phone: (585) 753-1080 'fax: (585) 753-1068 • email: communications@monroecounty.gov
www.monroecounty.gov
                            Case 6:19-cv-06859-FPG-MJP Document 1 Filed 11/19/19 Page 20 of 20

JS44 (Rev. 08/18)                                                                      CIVIL COVER SHEET
                                                                                                                                                                    19 CV 6 859
TheJS 44 civilcover sheetandtheinformation contained herein neither replace norsupplement thefiling andservice of pleadings or otherpapers as required bylaw, except as
provided by local rulesof court. Thisform, approved bythe Judicial Conference of the United States in September 1974, is requnedfor theuse of theClerl:; of Courtfor the
piupose of initiating the civil docket sheet. (SEEINSTRUCTIONS ONNEXT PAGEOF THISFORM.)

I. (a) PLAINTIFFS                      .                        ^                                                         DEFENDANTS C'fH                                                                JPoM
                CcortoSA SOTvtr                                                                                                                                           -lt\ Cxi"vteo coaDLl>-^2tt-/v.
               Md-USaxA UlffVl-
      (b) County ofResidence ofFirst Listed Plaintiff                           W\Oni»                                     :ounty ofResidence
                                                                                                                          County  <                   ofFirst Listed Defendant |'AOnrc7*4_
                                    (EXCEPTIN U.S.PLAINTIFF CASES)                                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                          NOTE:      DJ LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                     THE TRACT OF LAND INVOLVED.



      (c) Attorneys (Firm Name, Address, andTelephone Number)                                                              Attomeys (IfKnown)



                           Pro Si2^                                                                                                                                                                   ^20)'UL
IL BASIS OF JURISDICTION (Place an "X"inOne Box Onfy)                                                        in. CITIZENSHIPOF PRINCIPAL FARTIES^iace an "X" in One Boxfor Plaintiff
                                                                                                                      (For Diversity CasesOnly)                                            '" ' ' .dndOneBixcfor Defendant)
•     1   U.S. Government                               Federal Question                                                                         PTF          DEF                                 A               PTE        DEF
             Plaintiff                                    ^.5'. GovenvnentNotaParty)                             Citizen ofThis State           yt'\          yc 1 Incorporated crPrincipal Place                  0 4 04
                                                                                                                                                                            of Business In This State


•     2   U.S. Government                      •    A Diversity                                                  Citizen of Another State        •      2      O 2        Incorporatedand PrincipalPlace           O 5       O 5
             Defendant                                     (IndicateCitizenshipofParties in Item III)                                                                       of Business In Another State

                                                                                                                 Citizen or Subjectof a           •     3      0    3     Foreign Nation                           0     6   0   6
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rV. NATURE OF SUIT (Place an "X"inOneBox Onfy)                                                                                                                 Click here for: Nature of Suit Code Descriptions.
      CONTRACT                          TORTS                                                                       FORimPKEflmALTY                                BANKRUPTCY                         OTHER STATUTES
L
O     110 Insurance                                PERSONAL INJURY                    PERSONAL INJURY            • 625 Drug Related Seizure             • 422 Appeal 28 USC 158               Q 375 False Claims Act
O 120 Ivfarine                             • 310 Airplane                        • 365 Personal Injury -               of Property 21 USC 881           •    423 Withdrawal                   a 376 Qui Tam (31 USC
  130 Miller Act                           • 315 Airplane Product                      Product Liability         O 690 Other                                     28 USC 157                         3729(3))
      140 Negotiable Instrument                  Liability                       O 367 Health Care/                                                                                           • 400 State Reapportionment
      150 Recovery of Overpayment          a 320 Assault, Libel &                        Plwmaceutical                                                       PROPERTYRIGOTS                   •   410 Antitrust
          & Enforcement of Judgment                     Slander                          Personal Injury                                                • 820 Copyrights                      • 430 Banks and Banking
      151 Medicare Act                     • 330 Federal Employers'                      Product Liability                                              •    830 Patent                       •   450 Commerce
      152 Recovery of Defaulted                  Liability                       O 368 Asbestos Personal                                                •    835 Patent - Abbreviated         • 460 Deportation
           Student Loans                   • 340 Marine                                   Injury Product                                                      New Drug Application            O 470 Racketeer Influenced and
          (Excludes Veterans)              O 345 Marine Product                           Liability                                                     O 840 Trademark                                 Corrupt Organizations
      153 Recovery of Overpayment                       Liability                    PERSONAL PROPERTY                         LABOR                         SOCIAL SECURITY                  •   480 Consumer Credit
           of Veteran's Benefits           O 350 Motor Vehicle                   O 370 Other Fraud               O 710 Fair Labor Standards             • 861HIA(1395ff)                      • 485 Telephone Consumer
      160 Stockholders' Suits              O 355 Motor Vehicle                   •    371 Truth in Lending               Act                            • 862 Black Lui^ (923)                          Protection Act
      190 Odier Contract                                Product Liability        O 380 Other Persona!            • 720 Labor/Management                 • 863 DIWC/DIWW (405(g))              •   490 Cable/Sat TV
      195 Contract Product Liability       •       360 Other Persoml                  Property Damage                    Relations                      •    864 SSID Title XVI               O 850 Securities/Commodities/
      196 Franchise                              Injury                          • 385 Property Damage           CD 740 Railway Labor Act               O 865 RSI (405(g))                          Exchange
                                           • 362 Personal Injury-                      Product Liability         • 751 Family and Medical                                                     • 890 Other Statutory Actions
                                                        Medical Malpractice                                              Leave Act                                                            • 891 Agricultural Acts
           REAL PROPERTY                            CIVIL RIGHTS                     PRISONER PETITIONS          • 790 Other Labor Litigation                FEDERAL TAX SUITS                •   893 Environmental Matters
L
    O 210 Land Condemnation                ^440Other Civil Rights                     Habeas Corpus:             O 791 Employee Retirement              • 870 Taxes (U.S. Plaintiff           •   895 Freedom of Information
    O 220 Foreclosure                      • 441 Voting                          •    463 Alien Detainee               Income Security Act                     or Defendant)                            Act

    O 230 Rent Lease & Ejectment           O 442 Employment                      •    510 Motions to Vacate                                             • 871 IRS—Third Party                 • 896 Arbitration
    O 240 Torts to Land                    O 443 Housing/                                 Sentence                                                                 26 USC 7609                O 899 Administrative Procedure
    • 245 Tort Product Liability                        Accommodations           •    530 General                                                                                                  Act/Review or Appeal of
    • 290 All Other Real Property          O 445 Amer. w/Disabilities • O 535 Death penalty                              IMMIGRATION                                                                .^ency Decision
                                                        Employment                    Other:                      • 462 Naturalization Application                                            • 950 Constitutionality of
                                           •       446 Amer. w/Disabilities • •       540 Mandamus & Other        • 465 Other Immigration                                                               State Statutes
                                                        Other                    • 550 Civil Rights                      Actions
                                           O 448 Education                       O 555 Prison Condition
                                                                                 O 560 Civil Detainee -
                                                                                       C<mditions of
                                                                                          Confinement

    V. ORIGIN (Place an "X"inOneBox Only)
        Original    • 2 Removed from                                  O     3    Remanded from               • 4 Reinstated or       •    5 Transfened from               O 6 Multidistrict                O 8 Multidistrict
           Proceeding               State Court                                  Appellate Court                 Reopened                   Another District                  Litigation-                      Litigation-
                                                                                                                                            (speciff)                            Transfer                       DirectFile
                                                    Cite the U.S. Civil Statute under which you are filing (Donot die jurisdictionalstatute unless diversity) :

    VL CAUSE OF ACTION Brief description of cause:


    vn. REQUESTED IN                                •      CHECK IFTHIS ISACLASS action                           -demands                                              CHECK YES only if demanded in complaint:
            COMPLAINT:                                     UNDERRULE 23, F.R.Cv.R                                ^DpCOfXXX                                              JURY DEMAND:                  • Yes        ^o
    Vni. RELATED CASE(S)
                                                         (See instructions):
             IF ANY                                                               JUDGE         \-\CtiWZtiC. Pf&Ajc- p.                                      docket number 6?                           " CM"
    DATE                                                                              SIGNATURE OF ATTORNEY OF RECORD



    FOR OEFflCE USE PNLV

       RECEIPT #                       AMOUNT                                             APPLYING IFF                                    JUDGE                                  MAG. JUDGE
